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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,       )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)


                                 ORDER


     For the reasons stated in the accompanying Memorandum

Opinion, the Court finds that: (1) plaintiffs have stated a

claim against the President for allegedly violating the Foreign

Emoluments Clause; (2) plaintiffs have a cause of action to seek

injunctive relief against the President; and (3) the injunctive

relief sought is constitutional. It is hereby

     ORDERED that the motion to dismiss is DENIED IN PART as to

the portions of the motion to dismiss that were deferred in the

Court’s September 28, 2018 Order.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          April 30, 2019
